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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

 Case No. CV-12-4568-MWF (Ex)                   Date: January 15, 2014
 Title:   Michael F. Consedine -v- HRN Services, et al.
 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                            Court Reporter:
           Rita Sanchez                             Not Reported

           Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
           None Present                             None Present

 Proceedings (In Chambers): ORDER GRANTING IN PART AND DENYING IN
                            PART PLAINTIFF’S MOTION FOR PARTIAL
                            SUMMARY JUDGMENT ON AFFIRMATIVE
                            DEFENSES [18, 26] AND DENYING MOTION FOR
                            ORDER FOR PRETRIAL AUTHENTICATION OF
                            DOCUMENTS [19]

       This matter is before the Court on Plaintiff Michael F. Consedine, as Statutory
 Liquidator of Legion Insurance Company (“Legion”) and Villanova Insurance
 Company (the “Liquidator”)’s Motion for Partial Summary Judgment on Affirmative
 Defenses (“Summary Judgment Motion”) (Docket Nos. 18, 26), and the Liquidator’s
 Motion for Order for Pretrial Authentication of Documents (the “Motion for
 Authentication”) (Docket No. 19) (collectively the “Motions”). A hearing was held on
 January 13, 2014.

        The Summary Judgment Motion is stated to be for the thirteenth affirmative
 defense of release and the seventeenth affirmative defense of setoff, but is actually
 aimed at resolving the issue of deficient claims handling by the Liquidator or CIGA.
 The Summary Motion is GRANTED as to the affirmative defense of release and the
 issue of negligent claims handling, but DENIED as to the affirmative defense of setoff,
 as such.

       The Motion for Authentication is DENIED.



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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV-12-4568-MWF (Ex)                   Date: January 15, 2014
 Title:   Michael F. Consedine -v- HRN Services, et al.
 I.    BACKGROUND

        From 2001 to 2003, Defendant HRN Services, Inc. (“HRN”) participated in a
 multi-layered program of workers’ compensation insurance. (Plaintiff’s Amended
 Separate Statement of Undisputed Facts (“SSUF”) ¶¶ 10-11 (Docket No. 26-1);
 Defendant’s Statement of Genuine Disputes of Material Fact and Evidentiary
 Objections (“SGDMF”) ¶¶ 6, 8). HRN negotiated this program with a broker, John
 DeFazio, who proposed a “rent-a-captive” insurance scheme as an alternative to a
 traditional premium pay policy. (SGDMF ¶ 6). Under the proposals (referred to
 herein as the “Program” or the “Mutual Program; see Declaration of Arthur Flaster
 (“Flaster Decl.”) Ex. 1 (Docket No. 31-1)), Legion would issue a large deductible
 policy to HRN, containing a $250,000 per occurrence deductible. (Workers
 Compensation Proposal at 2, Flaster Decl. Ex. 1). HRN’s obligation to reimburse
 Legion would be reinsured via a Deductible Reimbursement Policy with Mutual
 Indemnity (U.S.) Ltd. (herein referred to collectively with related entities as “Mutual”),
 a Bermuda corporation that could not issue the policy directly to HRN because it was
 not licensed in the United States. (SGDMF ¶ 9). HRN would pay its premiums
 directly to Mutual, and HRN in fact dealt primarily with Mutual, rather than Legion,
 during the duration of the Program. (Id. ¶ 11). Claims were handled through
 Gallagher Bassett, a third-party administrator (“TPA”) chosen by HRN for this
 purpose. (Id. ¶ 19).

       HRN and Mutual entered their relationship via a Shareholder Agreement, dated
 April 1, 2001. (Flaster Decl. Ex. 2). The parties agree that HRN and Legion had a
 separate contractual relationship because both understood that Legion would issue
 HRN a workers’ compensation policy under the Program. Nonetheless, the parties
 dispute whether HRN was ever provided with a written policy. The Liquidator has
 submitted two documents it claims are the workers’ compensation policies, policy
 number WC1-1650295 for the period April 1, 2001 to April 1, 2002, and policy
 number WC1-1964654 for the period April 1, 2002 to April 1, 2003 (collectively the
 “Legion Policies”). (SSUF ¶ 11; Declaration of Joseph Naugle (“Naugle Decl.”) Exs.
 1-2 (Docket No. 26-2)). HRN contends that it never received the Legion Policies, and


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 Case No. CV-12-4568-MWF (Ex)                   Date: January 15, 2014
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 thus is not bound by them. (Defendant’s Response to Purported Undisputed Facts ¶¶
 10-11 (Docket No. 30).

        On April 25, 2003, a California court issued an order appointing the California
 Insurance Guarantee Association (“CIGA”) to administer any claims on which Legion
 held the risk. (SSUF ¶ 22; Naugle Decl. Ex. 14). On July 25, 2003, a Pennsylvania
 court adjudged Legion insolvent and appointed the Liquidator as Legion’s liquidator.
 (SSUF ¶ 23; Naugle Decl. Ex. 15). CIGA paid out claims under the Legion Policies
 and the Liquidator demanded payment from HRN. (SGDMF ¶ 25). HRN refused to
 pay, because neither CIGA nor the Liquidator provided sufficient information to
 substantiate the sums the Liquidator demanded, and HRN believed CIGA or other
 TPAs were paying out too much on claims over which HRN no longer had any control.
 (Id. ¶¶ 25-26).

        On or around November 19, 2008, HRN and Mutual signed a Redemption and
 Termination Agreement (the “Termination Agreement”). (Flaster Decl. Ex. 4). The
 terms of the Termination Agreement were as follows. Mutual would draw on the
 collateral that HRN had provided to secure its liability under the Deductible
 Reimbursement Policy. Mutual would send this sum to Legion as payment of Legion’s
 outstanding deductible reimbursement claims. Mutual and HRN then released each
 other of all claims. (See Declaration of Charlotte E. Thomas (Thomas Decl.) Ex. 7
 (Docket No. 26-18)). The parties dispute whether the Termination Agreement also
 effected a release of Legion’s claims against HRN.

        The Liquidator filed its Complaint initiating the present suit on May 24, 2012.
 (Docket No. 1). The Liquidator filed the present Motions on November 8, 2013. HRN
 did not file an Opposition to the Summary Judgment Motion, but only filed an
 Objection, arguing that counsel for the Liquidator had not met its obligations under
 Local Rule 7-3. (Docket No. 21). After a status conference on November 21, 2013,
 the Court ordered the parties to meet and confer regarding the substance of the Motions
 and allowed the Liquidator to resubmit either or both Motions. The Liquidator
 submitted an Amended Memorandum of Points and Authorities in Support of
 Summary Judgment on December 6, 2013. (Docket No. 26). HRN submitted its

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 Title:   Michael F. Consedine -v- HRN Services, et al.
 Opposition on December 13, 2013 (Docket No. 29), and the Liquidator submitted its
 Reply on December 20, 2013 (Docket No. 38).

        The parties do not dispute that Pennsylvania law applies to the Liquidator’s
 rights and responsibilities as statutory liquidator, and California insurance law governs
 the pre-liquidation contracts between the parties, except insofar as the contracts contain
 valid alternative choice of law provisions.

 II.   MOTION FOR PARTIAL SUMMARY JUDGMENT

        Under the Federal Rules of Civil Procedure, a movant is entitled to summary
 judgment if it can demonstrate that there is no genuine dispute as to any material fact
 and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). In
 deciding a motion for summary judgment under Rule 56, the Court applies Anderson,
 Celotex, and their Ninth Circuit progeny. Anderson v. Liberty Lobby, Inc., 477 U.S.
 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986); Celotex Corp. v. Catrett, 477 U.S.
 317, 323-24, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). Where, as here, “the non-
 moving party bears the burden of proof at trial, the moving party need only prove that
 there is an absence of evidence to support the non-moving party’s case.” In re Oracle
 Corp. Securities Litig., 627 F.3d 376, 387 (9th Cir. 2010). The burden then shifts to
 the non-moving party, which may not simply rely on allegations in its pleadings but
 must identify specific facts raising a genuine dispute that will be material at trial. Fed.
 R. Civ. P. 56(c).

        The Summary Judgment Motion seeks summary judgment on two of HRN’s
 affirmative defenses: the thirteenth affirmative defense of release and the seventeenth
 affirmative defense of setoff. The parties dispute the precise scope of HRN’s defense
 of setoff, and the Liquidator also seeks summary judgment on HRN’s defense of
 negligent or deficient claims handling to the extent that it is separate from the setoff
 defense.




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                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

 Case No. CV-12-4568-MWF (Ex)                   Date: January 15, 2014
 Title:   Michael F. Consedine -v- HRN Services, et al.
       A.    Release

        HRN’s thirteenth affirmative defense seeks to prove that Legion released its
 claim against HRN via a release agreement between HRN and Mutual executed in
 2008. HRN admits that Legion did not sign the purported release agreement, but it
 argues that Legion’s claim was nonetheless released because (a) pursuant to the terms
 of the Mutual Program, no relationship between Legion and HRN could continue once
 the relationship between Mutual and HRN terminated, so the Termination Agreement
 severed any contractual obligation to Legion; or (b) Mutual was empowered as
 Legion’s agent to release Legion’s claims, and a jury could conclude that the Mutual–
 HRN agreement in fact releases Legion’s claims as well as Mutual’s.

             1. The Unified Nature of the Program

       HRN argues that it never sought out a contractual relationship with Legion. It
 entered into what it refers to as the “Mutual Program” or the “Program,” whereby
 Mutual was HRN’s “true insurer” and Legion was a mere “pass-through” insurer.
 (Opp. at 15; Flaster Decl. ¶¶ 6-8). It was never the intention of the parties, HRN
 argues, that the Legion insurance policy could exist independent of the Program.

       HRN’s contractual basis for this argument is a line in the Shareholder
 Agreement, which HRN claims is the only document it was provided setting forth its
 obligations under the Program. (Opp. at 4; Flaster Decl. ¶ 13). The Shareholder
 Agreement was executed by representatives for Mutual and HRN and took effect April
 1, 2001. It states, in pertinent part:

       WHEREAS, a subsidiary of MUTUAL, MUTUAL INDEMNITY (U.S.)
       LTD. (hereinafter referred to as “INDEMNITY”) has issued to
       SHAREHOLDER [HRN] one or more Deductible Reimbursement
       Insurance Policies and entered into one or more Reinsurance Agreements
       (hereinafter referred to individually or collectively as the “TREATY”)
       with the insurance company(ies) shown in Appendix I [Mutual Indemnity
       (U.S.) Ltd. and Legion] (hereinafter referred to individually or collectively
       as the “INSURANCE COMPANY”), all as set forth in Appendix I,
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       pursuant to which INDEMNITY as reinsured certain of the liability of
       INSURANCE COMPANY on policies of insurance (hereinafter referred
       to individually or collectively as the “POLICY”) issued to
       SHAREHOLDER and its affiliates.

       WHEREAS, this AGREEMENT, the POLICY and the TREATY together
       constitute a single insurance program (hereinafter the “PROGRAM”)
       which is a uniquely negotiated single contract and no part of the
       PROGRAM would have been entered into without the other parts being in
       force.

 (Shareholder Agreement at 1-2). HRN effectively argues that because HRN and
 Mutual agreed that “no part of the Program would have been entered into without the
 other parts being in force,” the insurance policies that Legion issued to HRN contain an
 implied condition that if the Shareholder Agreement were ever to be terminated, the
 associated policies would also be terminated. This argument fails for the simple reason
 that Legion was not a party to the Shareholder Agreement.

       Whether the Legion Policies proffered by the Liquidator bind HRN will be hotly
 debated at trial. Even if HRN is not bound by the Legion Policies, however, it does not
 follow that Legion is bound by the Shareholder Agreement. It is clear that the parties
 intended that some contractual relationship exist between HRN and Legion; indeed,
 Legion’s status as a U.S.-licensed insurer was critical to the operation of the Program.
 HRN gained the benefit of Legion’s involvement throughout the duration of the
 Program, and it cannot now claim that it had no contractual relationship with Legion
 beyond the Shareholder Agreement, which was neither executed by Legion nor even
 indicates Legion’s specific rights and responsibilities as HRN’s insurer. HRN has
 presented no evidence suggesting that HRN and Legion mutually agreed that their
 contractual relationship would be conditioned on the continued existence of HRN’s
 contractual relationship with Mutual.

        Furthermore, even if Legion is bound by the terms of the Shareholder
 Agreement, it does not follow that a release of Mutual’s claims necessarily effects a
 release of Legion’s claims. The Court is sympathetic to HRN’s sincere understanding
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 that the Mutual Program would provide it with a high level of control over the claims
 administration process. HRN chose this policy among its various options because
 Mutual approved the use of Gallagher Bassett as TPA. (See Flaster Decl. ¶ 17). But
 Legion’s insolvency overrode any intention of the parties that Gallagher Bassett would
 act as TPA, because the Guarantee Act, Cal. Ins. Code §§ 1063, 1063.2, empowers
 CIGA to pay any covered claims of insolvent insurers. It is California law, not private
 contractual agreements, that defines how claims against insolvent insurers are paid.
 This would have been the case even if HRN had been insured directly by Mutual and
 Mutual had become insolvent; hence, the fact that Legion could not or did not exercise
 the level of control that the Liquidator and CIGA have exercised since Legion’s
 insolvency is irrelevant.

             2. Mutual’s Status as Agent of Legion

        HRN’s next argument is that Mutual and Legion are agents of each other, and
 thus Mutual was empowered to bind Legion to a release of its claim. (SDMF ¶ 2; Opp.
 at 17). This claim may be refuted on two grounds. First, an agency relationship may
 end at any time at the will of the principal. See 3 B.E. Witkin, Summary of California
 Law, Agency § 204, at 257 (10th ed. 2005). Even if Mutual acted as Legion’s
 insurance in the negotiation and duration of the Program—a proposition that has hardly
 been shown—no reasonable jury could conclude that Mutual continued to act as
 Legion’s agent when the Termination Agreement was signed in 2008. Legion went
 into rehabilitation in 2002 and liquidation in 2003. (Naugle Decl. Exs. 13-15). The
 Liquidator was appointed as the statutory rehabilitator and liquidator, and given broad
 power to conduct Legion’s affairs. See 40 Pa. Stat. § 221.23 (enumerating the powers
 of a liquidator). The Liquidator exercised these powers in structuring its relationship
 with HRN and the third-party claims handlers. There is simply no evidence suggesting
 that the Liquidator intended to empower Mutual to dispose of any of Legion’s rights.

        Second, even if Mutual was empowered to release Legion’s claims, it was
 plainly the intent of the parties that the Termination Agreement only release Mutual’s
 claims, not Legion’s claims. The text of the Termination Agreement purports only to
 terminate the relationship between HRN and Mutual and release to Legion the

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 remaining collateral held by Mutual for payment of HRN’s obligations. (Flaster Decl.
 Ex. 4). There is no indication in the agreement that the collateral, which HRN admits
 was less than Legion’s claim, would operate as a satisfaction of Legion’s entire claim.

        Legion cites to language in the Termination Agreement it claims supports its
 position:

       1. Release. Effective as at October 29, 2008 both the Insurer and the
       Company [Mutual] shall release and forever discharge each other [and]
       each others [sic] agents, successors and assigns[] from any and all
       liabilities and obligations arising under or related to the Agreements [the
       Mutual–HRN Deductible Reimbursement Policies] . . . .

 (Termination Agreement at 1). It appears overwhelmingly likely that the use of the
 term “Insurer” is a typographical error, because the three-page document defines and
 repeatedly uses the term “Insured” as referring to HRN, and does not define Insurer.
 Furthermore, the Termination Agreement claims that “the Company and the Insured
 desire to terminate” the Mutual–HRN Deductible Reimbursement Policies and “[t]he
 Insured and the Company” each have authority to enter the agreement. (Id. at 1-2).
 Even if HRN were correct that “Insurer” was meant to refer to Legion, it does not
 follow that Legion released HRN’s claims. The cited paragraph indicates that a release
 was intended between “Insurer” or “Insured” and the “Company,” which is clearly
 defined as Mutual. If HRN’s interpretation is correct, then Legion and Mutual agreed
 to a mutual release, not Legion and HRN.

        Even if the text of the agreement is ambiguous, the communications of the
 parties relating to the agreement show that Legion’s claims were beyond its scope. A
 Mutual representative sent an e-mail to various parties, including HRN’s counsel Rick
 Flaster, describes the agreement as part of the “thought process for taking Mutual out
 of the structure.” (SSUF ¶ 42; Thomas Decl. Ex. 7). And the parties discussed—but
 did not ultimately complete—a separate agreement that would have released Legion’s
 claims. (See Settlement and Release Agreement, Declaration of C. Guerry Collins
 (“Collins Decl.”) Ex. 19 (Docket No. 39-1)). Rick Flaster e-mailed Guerry Collins on
 November 19, 2008, stating that HRN had reached a settlement with Mutual and that
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 “it would appear that HRN may have a realistic possibility of settling with Legion.”
 (Letter Dated November 19, 2008, Collins Decl. Ex. 19). The e-mail attached a
 proposed Settlement and Release Agreement that clearly included Legion.

        There is no genuine dispute as to whether the Liquidator or its predecessors
 released HRN of its obligations to Legion. Accordingly, the Motion is GRANTED as
 to the defense of release.

       B.     Setoff

        As is quite often the case when Local Rule 7-3 is not strictly followed, the
 parties’ briefs as to the setoff defense discuss incongruent issues. The Summary
 Judgment Motion seeks to dispose of HRN’s seventeenth affirmative defense of setoff,
 arguing that HRN is not entitled to set off its claim for negligent claims handling
 against the Liquidator’s affirmative claims. (Mot. at 9-12). HRN responds that its
 setoff defense is unrelated to negligent claims handling, but rather seeks an offset of
 unearned premiums. (Opp. at 17). Nevertheless, HRN claims that the Liquidator’s
 “allowing rampant, run-away claims-mishandling” relieves HRN from its obligations
 under the policy, and it will rely on evidence of this mishandling at trial. (Id. at 20).
 The Liquidator points out the seventeenth affirmative defense of setoff is the only
 properly pled defense that could possibly encompass HRN’s claim that the
 Liquidator’s claims mismanagement was a material breach of the policy. (Reply at 6).
 HRN does not identify in its Opposition any properly pled defense that could
 encompass negligent claims handling, but it appears that it may fall under the twenty-
 second defense for the Liquidator’s breach of contract.

        It is appropriate here to break through form to reach substance. HRN seeks to
 establish a defense of negligent or deficient claims handling, and the Liquidator seeks
 summary judgment on that defense and a ruling that evidence of negligent claims
 handling will not be permitted at trial.

        The Liquidator’s primary argument in support of summary judgment is that
 neither the Liquidator nor CIGA had any duty to HRN to handle claims in any
 particular manner. (Mot. at 9-12). This is because, the Liquidator argues, both the
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  Legion Policies and the Pennsylvania law establishing the Liquidator’s powers and
  responsibilities make clear that Legion, the Liquidator, and CIGA enjoyed unlimited
  discretion in the claims administration process. (Id. at 3-4, 11). As discussed below,
  although there remains a dispute as to Legion’s rights under the policy, state law limits
  the defenses available to HRN against the Liquidator’s claims, and thus summary
  judgment is appropriate as to HRN’s defense of deficient claims handling.

               1. Legion’s Rights Under the Contract

         HRN does not dispute that the Legion Policies provide that Legion “ha[s] the
  right at [its] sole discretion, to pay any amounts within the deductible amounts,” and
  HRN “shall reimburse [Legion] for any sums [it] may have paid.” (Naugle Decl. Exs.
  1-2). Rather, HRN argues that it is not bound by the terms of the Legion Policies
  because it did not receive them. (SGDMF ¶ 28). Legion’s rights with respect to
  claims handling, HRN argues, are found in the Program as described in DeFazio’s
  proposals and the Shareholder Agreement. (Flaster Decl. Exs. 1-2). HRN claims that
  under the intended structure of the Program, a third-party claims administrator of
  HRN’s choosing, rather than Legion, was responsible for handling claims, and the
  Liquidator breached that agreement by discharging HRN’s chosen claims
  administrator. (Opp. at 20).

        HRN has presented no evidence, however, showing that Legion is bound by the
  Shareholder Agreement or any other document describing the Program. As discussed
  above, HRN knew at all times that, under the Program, it would carry a workers’
  compensation insurance policy with Legion. HRN knew at all times that it had some
  contractual relationship with Legion independent from its relationship with Mutual.
  HRN now claims that it would not have entered into a contract under which it lacked
  authority over the claims administration process, but HRN has not shown that Legion
  entered into any contract granting HRN such authority.

         Nevertheless, triable issues of fact remain over Legion’s precise rights and
  responsibilities with respect to claims handling under the Program. A dispute remains
  as to whether the Legion Policies were properly delivered to HRN, which claims to
  never have received them. The Liquidator has not sought summary judgment on this
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  issue. A jury could conclude that the Legion Policies do not bind HRN, and the terms
  of their contract should be governed rather by extrinsic evidence including the
  expressed intention of the parties and course of performance as will be established at
  trial. Furthermore, even if the Legion Policies are binding, the Liquidator may have
  breached them by failing to provide HRN with adequate information relating to claims
  or substantiate its reimbursement requests with details of payouts. (See Opp. at 7-8).

              2. The Liquidator’s Rights in Liquidation

         Despite this issue of fact, however, state law prevents HRN from raising
  negligent claims handling as a defense to reimbursement of deductibles for claims paid
  out by CIGA. HRN does not dispute than any deficient claims handling occurred only
  after the liquidation. (Mot. at 9). The Liquidator argues that the Pennsylvania
  Insurance Department Act of 1921, 40 Pa. Stat. § 221.1 et seq., limits the
  responsibilities of the Liquidator and the defenses available to policyholders against
  the Liquidator. Specifically, section 221.23a(f)(1), relating to deductible
  reimbursements, provides:

        If the insurer has not contractually agreed to allow the policyholder to
        fund its own claims within the deductible amount, to the extent a guaranty
        association is required by applicable State law to pay any claims for which
        the insurer would have been entitled to reimbursement from the
        policyholder under the terms of the deductible agreement and to the extent
        the claims have not been paid by the policyholder or by a third party, the
        receiver shall promptly bill the policyholder for such reimbursement, and
        the policyholder will be obligated to pay such amount to the receiver for
        the benefit of the guaranty associations who paid such claims. Neither the
        insolvency of the insurer nor its inability to perform any of its obligations
        under the deductible agreement shall be a defense to the policyholder’s
        reimbursements obligation under the deductible agreement.

        This statute appears to apply here. A guaranty association—CIGA—has paid,
  pursuant to California law, claims for which Legion would have been entitled to
  reimbursement. Under the statute, then, HRN is “obligated to pay such amount” to the
  ______________________________________________________________________________
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  Liquidator for the benefit of CIGA, and Legion’s “inability to perform any of its
  obligations under the deductible agreement” is not a defense to HRN’s admitted
  obligation to reimburse deductibles.

         Section 221.23a was passed in a 2004, and there exists no case law interpreting
  its application to particular policyholders. It is reasonable to read section 221.23a(f)(1)
  as the reasoned judgment of the Pennsylvania legislature that the claims payments of a
  guaranty association are governed solely by state law, rather than any agreement of the
  parties to the contrary. CIGA’s claims payment system is not lawless: it is governed
  by the California Guarantee Act, Cal. Ins. Code § 1063 et seq. California courts have
  interpreted the Act as limiting CIGA’s duties to the payment of “covered claims.” See
  Isaacson v. CIGA, 44 Cal. 3d 775, 792, 244 Cal. Rptr. 655 (1988) (“CIGA’s
  obligations are imposed by the Guarantee Act, and not by a contractual relationship
  with the insured (or the Unfair Practices Act) . . . .”). CIGA may be liable to a
  policyholder if it fails to meet its statutory duty. See id. at 792. Section 221.23a(f)(1)
  can be read as the Pennsylvania legislature’s decision to limit the ability of the parties
  to contract around state law governing guaranty associations.

         HRN cites Koken v. Pers. Mgmt., Inc., No. Civ. A 06-2277, 2011 WL 5855068
  (W.D. La. Nov. 21, 2011), aff’d sub nom. Consedine v. Pers. Mgmt., Inc., No. 11-
  31202, 2013 WL 4780514 (5th Cir. Sept. 9, 2013), as a case in which an insured was
  permitted to bring a claim for negligent claims handling against a statutory liquidator.
  This case is inapposite because it does not appear that a guaranty association was at
  issue in that case. Rather, claims were handled solely by the insolvent insurance
  company itself and a hired private TPA. See id. at *2 (finding that the insolvent
  company had hired a TPA and breached the contract with the defendant when it
  unilaterally changed the agreement so that it funded all losses).

        Counsel for HRN argued at the hearing that this Pennsylvania statute does not
  apply, because California insurance law governs the relationship between HRN and the
  Liquidator. Because Legion is a domiciliary of Pennsylvania, Pennsylvania law
  governs its liquidation. See Skandia Am. Reinsurance Corp. v. Barnes, 458 F. Supp.
  13, 16 (D. Colo. 1978) (holding that where insolvent company was domiciled in

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  Colorado, California law was invalid to the extent that it conflicted with Colorado law
  governing an insurance company’s liquidation). Furthermore, there is a substantively
  identical statute in the California Insurance Code. See Cal. Ins. Code § 1033.5(f)(1).

         Accordingly, under applicable state law, HRN may not raise any contractual
  breaches by the Liquidator as defenses against the Liquidator’s claims for
  reimbursement of funds paid out by CIGA in its fulfillment of its statutory duty to pay
  out covered claims. This does not mean, however, that HRN is incapable of objecting
  to the Liquidator’s claims handling. If HRN is correct that the Liquidator has breached
  a contractual duty to HRN, its proper course of action would be to file a claim in the
  Legion liquidation. Under section 221.23a(f)(1), however, this claim may not be set
  off against HRN’s obligation to reimburse the Liquidator for payments to CIGA, and
  may not be used as a defense against the Liquidator’s affirmative claims.

          Additionally, if HRN believes that CIGA has improperly paid out claims, it may
  bring suit against CIGA. CIGA may be held liable to policyholders if it fails to meet
  its statutory duties. See Isaacson, 44 Cal. 3d at 792 (“[I]f CIGA improperly denies
  coverage or refuses to defend an insured on a ‘covered claim’ arising under an
  insolvent insurer's policy, it breaches its statutory duties under the Guarantee Act.”).
  HRN has presented no authority, however, to suggest that CIGA’s failure to meet its
  statutory duties may be raised as an affirmative defense to its obligation to reimburse
  the Liquidator. Furthermore, HRN has presented no evidence suggesting that CIGA
  failed to pay covered claims.

         HRN’s best argument against summary judgment seems to be that its asserted
  defenses are not based on Legion’s or the Liquidator’s “inability to perform any of its
  obligations under the deductible agreement,” but rather the Liquidator’s and CIGA’s
  failure to provide any substantiation whatsoever for its payment of claims. Indeed,
  section 221.23a(f)(1) does not prevent HRN from objecting to the amount owed. This,
  however, is a failure of proof. The Liquidator will be required to prove at trial the
  amounts that HRN allegedly owes. HRN will be able to present evidence, rebut the
  Liquidator’s evidence, and argue to the jury that the Liquidator has failed to meet its
  burden to prove the amount of its damages. But HRN will not be able to argue that

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  either the Liquidator’s failure to provide a detailed accounting in the past or CIGA’s
  failure to substantiate its payouts amount to a breach of contract that excuses HRN’s
  obligation to pay.

         Accordingly, the Summary Judgment Motion is GRANTED insofar as it seeks
  summary judgment on HRN’s defense that either the Liquidator or CIGA breached a
  duty, including negligent or deficient claims handling or failure to account for payouts,
  which excuses HRN’s obligation to reimburse deductibles paid out by the Liquidator to
  CIGA. The burden still remains on the Liquidator to prove that CIGA has paid
  covered claims.

               3. Setoff of Unearned Premiums

         As to HRN’s claim for setoff of unearned premiums, the Liquidator argues by
  way of Reply that there is no evidence in the record to support this claim. (Reply at 9).
  Because this lack of evidence is pointed out for the first time in the Reply (presumably
  because the Liquidator seemed to be genuinely unaware of the basis of the seventeenth
  affirmative defense), HRN has not been given an adequate opportunity to respond to
  the Motion. Although the only responsibility of the party moving for summary
  judgment on a claim for which the nonmoving party bears the burden of proof at trial is
  to point to a lack of evidence in the record, the failure of the parties to fully meet and
  confer has prevented this issue from being fully briefed. The consequences must fall
  on the moving party.

         Accordingly, the Motion is DENIED as to the seventeenth affirmative defense
  of setoff as such.

  III.   MOTION FOR PRETRIAL AUTHENTICATION OF DOCUMENTS

        The Motion for Authentication seeks an order from the Court to require HRN to
  admit to the authenticity of various documents, including the critical Legion Policies.
  The parties addressed the substance of this motion at the status conference on
  November 21, 2013, at which the Court instructed the parties to confer regarding the
  authenticity of the disputed documents. Counsel for HRN told the Court that HRN
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  could not admit to the authenticity of the documents because the authenticity remained
  in dispute. The Court instructed the parties that it would allow additional discovery for
  the purposes of authentication, and the Court granted the Liquidator’s ex parte
  application to that effect on December 20, 2013. (Docket No. 41).

         The Court considers the subject matter of the Motion for Authentication to be
  largely mooted by the Order reopening discovery for the purposes of authentication.
  Accordingly, the Motion is DENIED.

  IV.   CONCLUSION

         The Motion for Authentication is DENIED. The Summary Judgment Motion is
  GRANTED as to the defense of release and DENIED as to the defense of setoff. The
  Summary Judgment Motion is GRANTED as to HRN’s defense that either the
  Liquidator or CIGA breached a duty, including negligent or deficient claims handling
  or failure to account for payouts, which excuses HRN’s obligation to reimburse
  deductibles paid out by the Liquidator to CIGA.

        IT IS SO ORDERED.




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